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17                              UNITED STATES DISTRICT COURT

18                           NORTHERN DISTRICT OF CALIFORNIA
19
                                         SAN JOSE DIVISION
20
                                                      Case No. 5:13-cv-01920-EJD (HRL)
21   IN RE INTUITIVE SURGICAL
     SECURITIES LITIGATION                            CLASS COUNSEL’S NOTICE OF
22                                                    MOTION AND MOTION FOR AN
                                                      AWARD OF ATTORNEYS’ FEES AND
23                                                    PAYMENT OF EXPENSES AND
                                                      MEMORANDUM OF POINTS AND
24                                                    AUTHORITIES IN SUPPORT THEREOF

25                                                    Date: December 20, 2018
                                                      Time: 10:00 a.m.
26                                                    Dept.: Courtroom 4, 5th Floor
                                                      Judge: Hon. Edward J. Davila
27

28
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 1                                        NOTICE OF MOTION
 2   TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on December 20, 2018, at 10:00 a.m., or as soon thereafter

 4   as it may be heard, Labaton Sucharow LLP (“Labaton Sucharow” or “Class Counsel”), on behalf

 5   of itself and all Plaintiffs’ Counsel, will move for an order: (i) awarding attorneys’ fees of 19%

 6   of the Settlement Fund; (ii) awarding payment of litigation expenses; and (iii) approving Class

 7   Representatives’ request for payment of their costs and expenses related to their representation of

 8   the Class, pursuant to the Private Securities Litigation Reform Act of 1995 (“PSLRA”), 15

 9   U.S.C. § 78u-4(a)(4).

10          This motion is based upon the following memorandum in support thereof; the Declaration

11   of Jonathan Gardner in Support of Class Representatives’ Motion for Final Approval of Class

12   Action Settlement and Plan of Allocation and Class Counsel’s Motion for an Award of

13   Attorneys’ Fees and Payment of Expenses (“Gardner Declaration” or “Gardner Decl.”), dated

14   November 15, 2018, with annexed exhibits; the Stipulation and Agreement of Settlement, dated

15   as of September 11, 2018 (ECF No. 298-1) (“Stipulation”); all of the prior pleadings and papers

16   in this Action; and such additional information or argument as may be required by the Court.

17          A proposed order will be submitted with Class Counsel’s reply submission on December

18   13, 2018, after the December 6, 2018 deadline for requesting exclusion or objecting has passed.

19                           STATEMENT OF ISSUES TO BE DECIDED

20          1.       Whether the Court should approve Class Counsel’s application for an award of
21   attorneys’ fees;
22          2.       Whether the Court should approve Class Counsel’s application for payment of
23   expenses; and
24          3.       Whether the Court should approve the Class Representatives’ requests for
25   payment of their reasonable costs and expenses related to their representation of the Class,
26   pursuant to the PSLRA, 15 U.S.C. § 78u-4(a)(4).
27

28
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2           Class Counsel respectfully submits this memorandum of points and authorities in support

 3   of its application, on behalf of all Plaintiffs’ Counsel, for: (i) an award of attorneys’ fees of 19%

 4   of the Settlement Fund; (ii) payment of litigation expenses in the amount of $1,988,789.66; and

 5   (iii) reimbursement in the aggregate amount of $58,854.18 to the Class Representatives, for their

 6   representation of the Class, pursuant to the PSLRA, 15 U.S.C. § 78u-4(a)(4).1

 7                                    PRELIMINARY STATEMENT
 8           As detailed in the Stipulation, Intuitive Surgical, Inc. (“Intuitive” or the “Company”) and

 9   Gary S. Guthart, Marshall L. Mohr, and Lonnie M. Smith (collectively, the “Individual

10   Defendants,” and, together with Intuitive, the “Defendants”) have agreed to deposit or cause to

11   be deposited $42,500,000 to secure a settlement of the claims in this class action and related

12   claims (the “Settlement”). This recovery is a very favorable result for the Class when evaluated

13   in light of all the relevant circumstances – most notably the complicated nature of the claims and

14   the risks of pursuing the Action through a decision on summary judgment and trial.

15           Class Counsel has not received any compensation for its successful prosecution of this

16   case, which required five years of vigorous advocacy. Class Counsel respectfully requests that

17   Plaintiffs’ Counsel be awarded an attorneys’ fee of 19% of the Settlement Fund, which will

18   include any accrued interest, that Class Counsel be paid out of the Settlement Fund for litigation

19   expenses in the amount of $1,988,789.66, and that the Class Representatives’ request for

20   reimbursement in the amount of $58,854.18, pursuant to the PSLRA, be approved. This 19% fee

21   request is below the Ninth Circuit’s “benchmark” for contingent fees and, as discussed below,

22   would provide a negative multiplier of Plaintiffs’ counsel’s lodestar. See, e.g., In re Pac. Enters.

23

24       1
            All capitalized terms not otherwise defined herein shall have the same meanings as those
     set forth in the Stipulation.
25
          Class Counsel was assisted in this case by Local Counsel, Kerr & Wagstaffe LLP, and
26   attorney Anthony Takitani and The Thornton Law Firm, which provided additional legal
     assistance to Hawaii ERS (collectively “Plaintiffs’ Counsel”). Any attorneys’ fees awarded by
27   the Court to Class Counsel will be allocated by Class Counsel to other Plaintiffs’ Counsel. No
     other law firms will share in the attorneys’ fees awarded by the Court and the payments to Kerr
28   & Wagstaffe, Mr. Takitani and the Thornton Law Firm will not increase the amount of attorneys’
     fees deducted from the Settlement Fund.
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 1   Sec. Litig., 47 F.3d 373, 379 (9th Cir. 1995) (“Twenty-five percent is the ‘benchmark’ that

 2   district courts should award in common fund cases.”).

 3            The requested fee is based on a pre-settlement agreement with Class Representative

 4   Employees’ Retirement System of the State of Hawaii (“Hawaii ERS”) and has been approved

 5   by both Hawaii ERS and Greater Pennsylvania Carpenters’ Pension Fund (“Greater

 6   Pennsylvania”). See Ex. 1 ¶¶8-9; Ex. 2 ¶¶8-9.2 The Class Representatives were actively

 7   involved in the litigation and believe that the Settlement represents a very favorable recovery for

 8   the Class. Ex. 1 ¶¶2, 5-7; Ex. 2 ¶¶2, 5-7.

 9            As discussed herein, as well as in the Gardner Declaration, it is respectfully submitted

10   that the requested fee is fair and reasonable when considered under the applicable standards in

11   the Ninth Circuit and is well within the range of awards in class actions in the Ninth Circuit and

12   courts nationwide, particularly in view of the substantial risks of pursuing the Action, the

13   considerable litigation efforts, and the results achieved for the Class. Moreover, the expenses

14   requested are reasonable in amount and were necessarily incurred for the successful prosecution

15   of the Action. As such, the requested fees and expenses should be awarded in full.

16                                                ARGUMENT
17   I.       CLASS COUNSEL’S REQUEST FOR ATTORNEYS’ FEES OF 19% OF THE
              COMMON FUND SHOULD BE APPROVED
18
              A.     Counsel Are Entitled to an Award of Attorneys’ Fees
19                   from the Common Fund
20            It is well settled that attorneys who represent a class and achieve a benefit for class

21   members are entitled to a reasonable fee as compensation for their services. The Supreme Court

22
          2
            All exhibits referenced herein are annexed to the Declaration of Jonathan Gardner in
23   Support of Class Representatives’ Motion for Final Approval of Class Action Settlement and
     Plan of Allocation and Class Counsel’s Motion for an Award of Attorneys’ Fees and Payment of
24   Expenses (“Gardner Declaration” or “Gardner Decl.”). For clarity, citations to exhibits that
     themselves have attached exhibits, will be referenced herein as “Ex.__-__.” The first numerical
25   reference is to the designation of the entire exhibit attached to the Gardner Declaration and the
     second alphabetical reference is to the exhibit designation within the exhibit itself.
26
          The Gardner Declaration is an integral part of this motion and is incorporated herein by
27   reference. For the sake of brevity, the Court is respectfully referred to the Gardner Declaration
     for, inter alia, a detailed description of the allegations and claims, the procedural history of the
28   Action, the risks faced by the Class in pursuing litigation, the efforts that led to a settlement, and
     a description of the services provided by Plaintiffs’ Counsel.
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 1   has recognized that “a lawyer who recovers a common fund for the benefit of persons other than

 2   himself or his client is entitled to a reasonable attorney’s fee from the fund as a whole.” Boeing

 3   Co. v. Van Gemert, 444 U.S. 472, 478 (1980) (citation omitted); see also Vincent v. Reser, No.

 4   C-11-03572 CRB, 2013 WL 621865, at *4 (N.D. Cal. Feb. 19, 2013) (quoting Boeing, 444 U.S.

 5   at 478). Indeed, the Ninth Circuit has expressly reasoned that “a private plaintiff, or his attorney,

 6   whose efforts create, discover, increase or preserve a fund to which others also have a claim is

 7   entitled to recover from the fund the costs of his litigation, including attorneys’ fees.” Vincent v.

 8   Hughes Air W., Inc., 557 F.2d 759, 769 (9th Cir. 1977). The purpose of this rule, known as the

 9   “common fund doctrine,” is to prevent unjust enrichment so that “those who benefit from the

10   creation of the fund should share the wealth with the lawyers whose skill and effort helped create

11   it.” In re Wash. Pub. Power Supply Sys. Sec. Litig. (WPPSS), 19 F.3d 1291, 1300 (9th Cir.

12   1994), aff’d in part, Class Plaintiffs v. Jaffe Schlesinger, P.A., 19 F.3d 1306 (9th Cir. 1994).

13           B.      A Reasonable Percentage of the Fund Recovered Is the Appropriate
                     Method for Awarding Attorneys’ Fees in Common Fund Cases
14
             In Blum v. Stenson, 465 U.S. 886 (1984), the Supreme Court recognized that under the
15
     common fund doctrine a reasonable fee may be based “on a percentage of the fund bestowed on
16
     the class. . . .” Id. at 900 n.16. In this Circuit, a district court has discretion to award fees in
17
     common fund cases based on either the lodestar/multiplier method or the percentage-of-the-fund
18
     method. WPPSS, 19 F.3d at 1296. However, the percentage-of-recovery method has become the
19
     prevailing method in the Ninth Circuit. See Vizcaino v. Microsoft Corp., 290 F.3d 1043 (9th Cir.
20
     2002). Other circuits have similarly endorsed the percentage-of-recovery method.
21
             The rationale for compensating counsel in common fund cases on a percentage basis is
22
     sound. Principally, it more closely aligns the lawyers’ interest in being paid a fair fee with the
23
     interest of the class in achieving the maximum possible recovery in the shortest amount of time.
24
     Indeed, one of the nation’s leading scholars in the field of class actions and attorneys’ fees,
25
     Professor Charles Silver of the University of Texas School of Law, has concluded that the
26
     percentage method of awarding fees is the only method of fee awards that is consistent with class
27
     members’ due process rights. Professor Silver notes:
28
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 1            The consensus that the contingent percentage approach creates a closer harmony of
              interests between class counsel and absent plaintiffs than the lodestar method is
 2            strikingly broad. It includes leading academics, researchers at the RAND Institute for
              Civil Justice, and many judges, including those who contributed to the Manual for
 3
              Complex Litigation, the Report of the Federal Courts Study Committee, and the report of
 4            the Third Circuit Task Force. Indeed, it is difficult to find anyone who contends
              otherwise. No one writing in the field today is defending the lodestar on the ground that
 5            it minimizes conflicts between class counsel and absent claimants.
              In view of this, it is as clear as it possibly can be that judges should not apply the
 6            lodestar method in common fund class actions. The Due Process Clause requires them
              to minimize conflicts between absent claimants and their representatives. The contingent
 7
              percentage approach accomplishes this.
 8
     Charles Silver, Class Actions In The Gulf South Symposium, Due Process and the Lodestar
 9
     Method: You Can’t Get There From Here, 74 Tul. L. Rev. 1809, 1819-20 (2000) (emphasis
10
     added and footnotes omitted). This is particularly appropriate in cases under the PSLRA where
11
     Congress recognized the propriety of the percentage method of fee awards. See 15 U.S.C. § 78u-
12
     4(a)(6) (“Total attorneys’ fees and expenses awarded by the court to counsel for the plaintiff
13
     class shall not exceed a reasonable percentage of the amount of any damages and prejudgment
14
     interest actually paid to the class”.).
15
              C.     Analysis Under the Percentage Method and the Vizcaino Factors
16                   Justify a Fee Award of 19% in this Case

17            In Paul, Johnson, Alston & Hunt v. Graulty, 886 F.2d 268 (9th Cir. 1989), the Ninth

18   Circuit established 25% of a common fund as the “benchmark” award for attorneys’ fees. See

19   also Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1376-77 (9th Cir. 1993) (reaffirming 25%

20   benchmark); Powers v. Eichen, 229 F.3d 1249, 1256 (9th Cir. 2000) (same); see also Destefano

21   v. Zynga Inc., No. 12-cv-04007-JSC, 2016 WL 537946, at *17 (N.D. Cal. Feb. 11, 2016) (“In

22   common fund cases in the Ninth Circuit, the ‘benchmark’ percentage award is 25 percent of the

23   recovery obtained, with 20 to 30 percent as the usual range.”) (citing Vizcaino, 290 F.3d at

24   1047).

25            The guiding principle in this Circuit is that a fee award be “reasonable under the

26   circumstances.” WPPSS, 19 F.3d at 1296 (citation and emphasis omitted). In employing the

27   percentage method, courts may perform a lodestar cross-check to confirm the reasonableness of

28   the requested fee. Vizcaino, 290 F.3d at 1047 (affirming use of percentage method and applying
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 1   the lodestar method as a cross-check). Here, as discussed in detail below, Plaintiffs’ counsel

 2   have dedicated 41,813.90 hours to the prosecution of the case over the past five years, with a

 3   lodestar value of $21,548,609.00. See Ex. 7. Accordingly the requested fee, if granted, would be

 4   only a portion of counsel’s lodestar in the case.

 5          The fee request readily satisfies the five Vizcaino factors that are used by courts within

 6   the Ninth Circuit to evaluate the reasonableness of a requested fee: (1) the result achieved; (2)

 7   the risk of litigation; (3) the skill required and quality of the work; (4) awards made in similar

 8   cases; and (5) the contingent nature of the fee and financial burden carried by counsel. Vizcaino,

 9   290 F.3d at 1048-50. The Ninth Circuit has explained that these factors should not be used as a

10   rigid checklist or weighed individually, but, rather, should be evaluated in light of the totality of

11   the circumstances. Id. As set forth below, all of the Vizcaino factors militate in favor of

12   approving the requested fee.

13                  1.      The Result Achieved
14          Courts have consistently recognized that the result achieved is an important factor to be

15   considered in making a fee award. Hensley v. Eckerhart, 461 U.S. 424, 436 (1983) (noting “the

16   most critical factor is the degree of success obtained”); Vizcaino, 290 F.3d at 1048 n.7 (noting

17   “[e]xceptional results are a relevant circumstance” in awarding attorneys’ fees). Class Counsel

18   submits that the $42.5 million proposed Settlement is an excellent result for the Class, both

19   quantitatively and when considering the risk of a lesser (or no) recovery if the case proceeded

20   through a decision on summary judgment and trial.

21          In terms of potentially recoverable damages, the Settlement represents a recovery of

22   approximately 7.34% of the Class Representatives’ damages expert’s estimate of maximum

23   recoverable damages ($580 million), assuming that the Class Representatives prevailed on all

24   claims, including all three remaining alleged corrective disclosures. Defendants of course

25   disputed, even if liability were to be proven, the amount that the Class was allegedly damaged,

26   and would have argued that damages were significantly less, if any. Moreover, if Defendants’

27   arguments prevailed at summary judgment or trial (including Defendants’ loss causation

28
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 1   contentions for any or all of the three remaining alleged disclosures), the Class’s damages would

 2   be severely or completely diminished. See Gardner Decl. ¶¶5, 81.

 3          This percentage of recovery compares well to recoveries in other securities class actions

 4   within the Ninth Circuit. See, e.g., In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1042

 5   (N.D. Cal. 2008) (noting $13.75 million settlement yielding 6% of potential damages after

 6   deducting fees and costs was “higher than the median percentage of investor losses recovered in

 7   recent shareholder class action settlements”) (citation omitted); McPhail v. First Command Fin.

 8   Planning, Inc., No. 05cv179-IEG- JMA, 2009 WL 839841, at *5 (S.D. Cal. Mar. 30, 2009)

 9   (finding a $12 million settlement recovering 7% of estimated damages was fair and adequate).

10   The recovery also compares favorably to recoveries achieved in cases in other Circuits. See, e.g.,

11   In re Merrill Lynch & Co., Research Reports Sec. Litig., No. 02 MDL 1484 (JFK), 2007 WL

12   313474, at *10 (S.D.N.Y. Feb. 1, 2007) (“The Settlement Fund is approximately $40.3 million.

13   The settlement thus represents a recovery of approximately 6.25% of estimated damages. This is

14   at the higher end of the range of reasonableness of recovery in class actions securities

15   litigations.”) (citation omitted); Schuler v. Medicines Co., No. 14 Civ. 1149, 2016 WL 3457218,

16   at *8 (D.N.J. June 24, 2016) (approving $4,250,000 securities fraud settlement that reflects

17   approximately 4.0% of the estimated recoverable damages and noting percentage “falls squarely

18   within the range of previous settlement approvals”).

19          Additionally, the $42.5 million Settlement is significantly greater than the median and

20   average reported settlement amounts in securities class actions in 2017 ($5 million and $18.2

21   million, respectively). See Laarni T. Bulan, Ellen M. Ryan, and Laura E. Simmons, Securities

22   Class Action Settlements – 2017 Review and Analysis, at 3 (Cornerstone Research 2018), Ex. 4;

23   Gardner Decl. ¶81.

24          In sum, the Settlement provides a very favorable percentage of recovery for the Class.

25                  2.      The Risks of Litigation
26          The risk of further litigation is also an important factor in determining a fair fee award.

27   Vizcaino, 290 F.3d at 1048 (noting “[r]isk is a relevant circumstance” in awarding attorneys’

28   fees); In re Pac. Enters. Sec. Litig., 47 F.3d at 379 (finding that attorneys’ fees were justified
     CASE NO. 5:13-CV-01920-EJD (HRL)                                                                     7
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 1   “because of the complexity of the issues and the risks”); see also Zynga, 2016 WL 537946, at

 2   *17 (approving requested fee and noting that “as to the second factor . . . the risks associated

 3   with the case were substantial given the challenges of obtaining class certification and

 4   establishing the falsity of the misrepresentations and loss causation”). As set forth in detail in

 5   Section VI of the Gardner Declaration, there is no question that the Class Representatives faced,

 6   and Class Counsel resisted, formidable defenses to liability and damages. Although the Class

 7   Representatives have prevailed at several crucial stages of the litigation, including two motions

 8   to dismiss and class certification, Defendants vehemently denied liability and there was no

 9   assurance that the Class Representatives’ claims would survive Defendants’ pending motion for

10   summary judgment and upcoming Daubert motions, let alone trial.

11          For instance, the Parties have asserted significantly different positions regarding loss

12   causation and damages. Id. ¶¶83-91. Defendants would principally have asserted, as they did on

13   summary judgment, that the three remaining “corrective” disclosures do not correct the allegedly

14   false statements. Id. ¶84. Defendants would have argued that nothing in the February 28, 2013

15   Bloomberg article announcing that the FDA was surveying surgeons at several hospitals

16   regarding complications they may have encountered with da Vinci, corrected any alleged

17   omissions regarding a purported defect or supposed internal recalls. Id. Defendants would also

18   have continued to argue that the March 5, 2013 Bloomberg article, which reported on allegations

19   from two personal injury lawsuits that had been filed against Intuitive as well as other lawsuits

20   filed against the Company, did not reveal anything new to the market, because this information

21   was all publicly available. Id. ¶85. And, regarding the July 18, 2013 Warning Letter where the

22   Company announced that it received a Warning Letter from the FDA, Defendants would have

23   argued that the Warning Letter revealed no information that Defendants had allegedly concealed.

24   Defendants would have argued that the only “new” information revealed on July 18, 2013, was

25   the existence of a Warning Letter (the contents of which were not made public until July 31,

26   2013), and since the July 18 announcement revealed only the receipt of the letter itself, which the

27   Class Representatives do not allege Defendants concealed, the announcement cannot qualify as a

28   corrective disclosure, and the accompanying stock drop cannot be a basis for proving loss
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 1   causation. Id. ¶86. Class Counsel tenaciously rebutted these arguments throughout the class

 2   certification briefing, expert discovery, and summary judgment briefing.

 3          Additionally, Defendants would have continued to assert their “truth on the market

 4   defense,” arguing that each piece of allegedly concealed information was publicly available to

 5   the market. Id. ¶88. Defendants would have argued that the Class Representatives’ claim that

 6   Defendants failed to disclose that the Company sent letters in October 2011 to all da Vinci

 7   customers regarding the proper use of the Tip Cover, was immaterial because the letters were in

 8   fact widely publicized before the first allegedly misleading statement was made on February 6,

 9   2012. Additionally, Defendants would have argued that a Citron Research analyst report,

10   published on December 19, 2012, discussed the “gathering storm of legal liability accruing to the

11   company” due to the Company’s alleged failure to disclose the risks associated with da Vinci.

12   Defendants would also argue that another Citron Report, published on January 17, 2013,

13   discussed pending litigation against Intuitive arising from the risks associated with its robot

14   instruments. Id. Countering these arguments took significant skill and dedication. For instance

15   Defendants used the publicly filed patent application for the redesigned Tip Cover filed with the

16   U.S. Patent and Trademark Office to further their truth on the market defense in connection with

17   class certification, arguing that the redesign disclosed defects in the Tip Cover. Id. ¶34. Class

18   Counsel reviewed the patent application for the redesigned Tip Cover in order to evaluate and

19   rebut such arguments.

20          Moreover, Defendants were adamant in their arguments disputing the opinions of the

21   Class Representatives’ damages and loss causation expert, Mr. Coffman. Daubert motions

22   would likely have been filed seeking to exclude all or most of Mr. Coffman’s testimony, as well

23   as the testimony of the Class Representatives’ FDA expert and insider trading expert. If the

24   Court agreed with Defendants’ motions, presenting the Class Representatives’ evidence on these

25   issues would be exceptionally challenging. See Nguyen v. Radient Pharms. Corp., No. SACV

26   11-00406 DOC (MLGx), 2014 WL 1802293, at *2 (C.D. Cal. May 6, 2014) (approving

27   requested attorneys’ fee and noting the particular challenges of proving and calculating

28   damages).
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 1          The Class Representatives also faced challenges in proving that Defendants’ alleged

 2   misstatements were made with scienter, as required by the federal securities laws. Gardner Decl.

 3   ¶¶92-95. Defendants denied that the Class Representatives could prove that there was an

 4   intentional or severely reckless violation of the Exchange Act. Among other things, regarding

 5   the alleged insider trading of each of the Individual Defendants, Defendants would seek to put

 6   forth expert testimony arguing that the sales of the Individual Defendants followed 10b5-1

 7   trading plans. Defendants would also argue that Defendants Mohr and Guthart approved a stock

 8   repurchase plan prior to the Class Period, negating a finding of scienter. Id. ¶93.

 9          Class Counsel worked closely with their three testifying experts in the areas of loss

10   causation/materiality/damages, insider trading and executive compensation, and FDA regulatory

11   practice to establish the Class’s claims. The Class Representatives intended to rely heavily on

12   their expert witnesses, to present opinions on whether Defendants’ statements were contrary to

13   internal Company data and internal statements as they relate to safety and efficacy of da Vinci,

14   among other things. Id., e.g., ¶¶62-71, 95. Had Defendants prevailed in excluding any of the

15   experts’ opinions or had the jury discounted certain opinions, the presentation of many aspects of

16   the Class Representatives’ case would have been more difficult. Moreover, presenting this

17   complex evidence persuasively to a jury created its own significant challenges, in addition to the

18   risks inherently present in any “battle of the experts” that would have ensued.

19          Overall, the Class Representatives faced the significant possibility that the Court or a jury

20   would agree with Defendants’ experts and, regardless of who would ultimately be successful at

21   trial, there is no doubt that both sides would have had to present complex and nuanced

22   information to a jury with no certainty as to the outcome. See In re Omnivision, 559 F. Supp. 2d

23   at 1047 (noting that the risk of litigation, including the ability to prove loss causation and the risk

24   that Defendants prevail on damages support the requested fee).

25          If not settled, the Class in this case faced the considerable risk of years of additional

26   litigation with no guarantee of a greater recovery. Class Counsel worked tirelessly to achieve a

27   significant result for the Class in the face of these very real risks. Under these circumstances, the

28   requested fee is fully appropriate.
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 1                   3.      The Skill Required and the Quality of Work
 2            Courts have recognized that the “prosecution and management of a complex national

 3   class action requires unique legal skills and abilities.” In re Heritage Bond Litig., No. 02-ML-

 4   1475-DT (RCX), 2005 WL 1594389, at *12 (C.D. Cal. June 10, 2005) (citation omitted); see

 5   also Vizcaino, 290 F.3d at 1048. ‘“This is particularly true in securities cases because the Private

 6   Securities Litigation Reform Act makes it much more difficult for securities plaintiffs to get past

 7   a motion to dismiss.’” Zynga, 2016 WL 537946, at *17 (quoting Omnivision, 559 F. Supp. 2d at

 8   1047).

 9            Here, in addition to the complexities of this being a securities case, the claims centered

10   on Defendants’ alleged false and misleading statements and omissions concerning the safety risk

11   profile of the Company’s flagship product, a robotic surgical system. Class Counsel worked

12   very hard to investigate, develop, and prove the complex claims against Defendants. Class

13   Counsel conducted its own proprietary investigation without the benefit of any governmental or

14   criminal proceeding, restatement, or Company admission to formulate its theory of the case and

15   develop sufficient facts to ultimately defeat, in part, Defendants’ motion to dismiss the first

16   Complaint, and to defeat, in its entirety, the motion to dismiss the Second Amended Complaint.

17   Additionally, Class Counsel: (i) successfully moved for class certification and rebuffed a Rule

18   23(f) petition; (ii) engaged in thorough and diligent fact discovery, including (a) an extremely

19   labor intensive meet and confer process with Defendants on the scope of discovery which led to

20   the production and review of approximately 555,000 pages of documents; and (b) taking or

21   defending 18 depositions; (iii) engaged in extensive and complicated expert discovery, including

22   submission of expert and rebuttal reports from three experts, the review and analysis of reports

23   from Defendants’ three experts, and taking or defending six expert depositions; (iv) opposed

24   Defendants’ motion for summary judgment seeking dismissal of the Action; and (v) began trial

25   preparations. See Gardner Decl. §§III-V.

26            Class Counsel has extensive and significant experience in the highly specialized field of

27   securities class action litigation and is known as a leader in the field. See Gardner Decl. ¶140.

28   Class Counsel has not only used its knowledge and skill from prior cases but also developed
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 1   specific expertise in the issues presented here to overcome the obstacles presented by

 2   Defendants. The favorable Settlement is attributable in large part to the diligence, determination,

 3   hard work, and skill of Class Counsel, who developed, litigated, and successfully settled the

 4   Action.

 5             The quality of opposing counsel is also important in evaluating the quality of the work

 6   done by Class Counsel. See, e.g., Heritage Bond, 2005 WL 1594389, at *12; In re Equity

 7   Funding Corp. Sec. Litig., 438 F. Supp. 1303, 1337 (C.D. Cal. 1977). Class Counsel was

 8   opposed in this Action by very skilled and highly respected lawyers with well-deserved

 9   reputations for vigorous advocacy in the defense of complex civil cases such as this. In the face

10   of this formidable opposition, Class Counsel was able to develop the Class Representatives’ case

11   so as to persuade Defendants to settle the Action on terms favorable to the Class.

12                    4.      The Contingent Nature of the Fee and the Financial
                              Burden Carried by Class Counsel
13
               It has long been recognized that attorneys are entitled to a larger fee when their
14
     compensation is contingent in nature. See Vizcaino, 290 F.3d at 1048-50; Omnivision, 559 F.
15
     Supp. 2d at 1047 (“The importance of assuring adequate representation for plaintiffs who could
16
     not otherwise afford competent attorneys justifies providing those attorneys who do accept
17
     matters on a contingent-fee basis a larger fee than if they were billing by the hour or on a flat
18
     fee.”); see also Zynga, 2016 WL 537946, at *18 (noting that “when counsel takes on a
19
     contingency fee case and the litigation is protracted, the risk of non-payment after years of
20
     litigation justifies a significant fee award”). The Supreme Court has emphasized that private
21
     securities actions such as this provide “‘a most effective weapon in the enforcement’ of the
22
     securities laws and are ‘a necessary supplement to [SEC] action.’” Bateman Eichler, Hill
23
     Richards, Inc. v. Berner, 472 U.S. 299, 310 (1985) (citation omitted); Tellabs, Inc. v. Makor
24
     Issues & Rights, Ltd., 551 U.S. 308, 319 (2007) (noting that the court has long recognized that
25

26

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28
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 1   meritorious private actions to enforce federal antifraud securities laws are an essential

 2   supplement to criminal prosecutions and civil enforcement actions).3

 3           Indeed, there have been many class actions in which plaintiffs’ counsel took on the risk

 4   of pursuing claims on a contingency basis, expended thousands of hours and dollars, yet received

 5   no remuneration whatsoever despite their diligence and expertise. Class Counsel tried In re JDS

 6   Uniphase Securities Litigation, Case No. C-02-1486 CW (EDL) (N.D. Cal. Nov. 27, 2007), in

 7   this district through to a disappointing verdict for the defendants, receiving no compensation and

 8   expending millions of dollars in time and expenses. See also In re Oracle Corp. Sec. Litig., No.

 9   C 01-00988 SI, 2009 WL 1709050 (N.D. Cal. June 19, 2009), aff’d, 627 F.3d 376 (9th Cir. 2010)

10   (granting summary judgment to defendants after eight years of litigation, and after plaintiff’s

11   counsel incurred over $6 million in expenses and worked over 100,000 hours, representing a

12   lodestar of approximately $48 million). Class Counsel is aware of many other hard-fought

13   lawsuits where, because of the discovery of facts unknown when the case was commenced,

14   changes in the law during the pendency of the case, or a decision of a judge or jury following a

15   trial on the merits, excellent professional efforts by members of the plaintiff’s bar produced no

16   fee for counsel. See, e.g., Ward v. Succession of Freeman, 854 F.2d 780 (5th Cir. 1998)

17   (reversing plaintiffs’ jury verdict for securities fraud); Robbins v. Koger Props., Inc., 116 F.3d

18   1441 (11th Cir. 1997) (reversing $81 million jury verdict and dismissing case with prejudice);

19   Anixter v. Home-Stake Prod. Co., 77 F.3d 1215 (10th Cir. 1996) (overturning plaintiffs’ verdict

20   obtained after two decades of litigation); Gardner Decl. ¶129. As the court in In re Xcel Energy,

21   Inc. Securities, Derivative & “ERISA” Litigation, 364 F. Supp. 2d 980 (D. Minn. 2005)

22   recognized, “[p]recedent is replete with situations in which attorneys representing a class have

23   devoted substantial resources in terms of time and advanced costs yet have lost the case despite

24   their advocacy.” Id. at 994 (citation omitted). Even plaintiffs who get past summary judgment

25
         3
26         Additionally, vigorous private enforcement of the federal securities laws and state
     corporation laws can only occur if private plaintiffs can obtain some semblance of parity in
27   representation with that available to large corporate defendants. If this important public policy is
     to be carried out, courts should award fees that will adequately compensate private plaintiffs’
28   counsel, taking into account the enormous risks undertaken with a clear view of the economics of
     a securities class action.
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 1   and succeed at trial may find a judgment in their favor overturned on appeal or on a post-trial

 2   motion. See, e.g., Glickenhaus & Co. v. Household Int’l, Inc., 787 F.3d 408 (7th Cir. 2015)

 3   (reversing and remanding jury verdict of $2.46 billion after 13 years of litigation on loss

 4   causation grounds and error in jury instruction under Janus Capital Grp., Inc. v. First Derivative

 5   Traders, 131 S.Ct. 2296 (2011)).

 6          Here, because Class Counsel’s fee was entirely contingent, the only certainty was that

 7   there would be no fee without a successful result and that such result would only be realized after

 8   significant amounts of time, effort, and expense had been expended. Unlike counsel for the

 9   Defendants, who were paid and reimbursed for their out-of-pocket expenses on a current basis,

10   Class Counsel has received no compensation for its efforts during the course of the Action.

11   Indeed, absent this Settlement, there was a sizeable risk that, at the end of the day, Class

12   Members, as well as their counsel, would obtain no recovery. Class Counsel has risked non-

13   payment of $1,988,789.66 in expenses and $21,502,439.00 in time worked on this matter,

14   knowing that if its efforts were not successful, no fees or expenses would be paid.

15                  5.      A 19% Fee Award Is Below the Ninth Circuit’s Benchmark
                            and Is Less than Awards in Similar Cases
16
            In requesting a 19% fee, Class Counsel seeks an award that is below the benchmark that
17
     has been established by the Ninth Circuit. Eichen, 229 F.3d at 1256 (“We have also established
18
     twenty-five percent of the recovery as a ‘benchmark’ for attorneys’ fees calculations under the
19
     percentage-of-recovery approach.”) (citation omitted); Zynga, 2016 WL 537946, at *18 (“As to
20
     the fifth factor and awards in similar cases, several other courts—including courts in this
21
     District—have concluded that a 25 percent award was appropriate in complex securities class
22
     actions.”) (citation omitted).
23
            Fee awards of more than 19% have been awarded in numerous securities settlements with
24
     comparable or even greater settlements, in district courts throughout the Ninth Circuit. See, e.g.,
25
     In re Hewlett-Packard Co. Sec. Litig., Case No. SACV 11-1404-AG (RNBx), slip op. at 2-3
26

27

28
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 1   (C.D. Cal. Sept. 15, 2014) (awarding 25% fee of $57 million settlement) (Ex. 9);4 Stanley v.

 2   Safeskin Corp., No. 99CV454 BTM (LSP), slip op. at 9 (S.D. Cal. Apr. 2, 2003) (awarding 26%

 3   of $55 million settlement) (Ex. 9); In re Titan, Inc. Sec. Litig., No. 04-cv-0676-LAB(NLS), slip

 4   op. at 3 (S.D. Cal. Dec. 20, 2005) (awarding 25% of $61.5 million settlement) (Ex. 9); In re

 5   Verisign, Inc. Sec. Litig., No. C-02-2270-JWC (PVT), slip op. at 1 (N.D. Cal. Apr. 24, 2007)

 6   (awarding 25% of $78 million settlement) (Ex. 9); South Ferry LP #2 v. Killinger, No. C04-

 7   1599-JCC, slip op. at 9 (W.D. Wash. June 5, 2012) (awarding 29% of $41.5 million settlement)

 8   (Ex. 9); In re BP Prudhoe Bay Royalty Trust Sec. Litig., No. C06-1505 MJP, slip op. at 2 (W.D.

 9   Wash. June 30, 2009) (awarding 27% of $43.5 million settlement) (Ex. 9).

10           An examination of fee decisions in other federal jurisdictions in securities class actions

11   with comparable settlements also shows that an award of 19% would be reasonable. See, e.g., In

12   re NII Holdings Inc. Sec. Litig., Civ. No. 1:14-cv-00227-LMB-JFA, slip op. at 2 (E.D. Va. Sept.

13   16, 2016) (awarding 25% fee of $41.5 million settlement) (Ex. 9); In re Regions Morgan Keegan

14   Closed-End Fund Litig., No. 07-cv-02830 SHM dkv, slip op. at 21 (W.D. Tenn. Aug. 5, 2013)

15   (awarding 30% of $62 million settlement) (Ex. 9); Central Laborers’ Pension Fund v. Sirva, No.

16   04 C-7644, slip op. at 10 (N.D. Ill. Oct. 31, 2007) (awarding 29.85% of $53.3 million settlement)

17   (Ex. 9); Billitteri v. Sec. Am., Inc., No. 3:09-cv-01568-F, 2011 WL 3585983, at *4, *9 (N.D. Tex.

18   Aug. 4, 2011) (awarding 25% of a $80 million settlement); In re Celestica Inc. Sec. Litig., No.

19   07-cv-00312-GBD, slip op. at 2 (S.D.N.Y. July 28, 2015) (awarding 30% fee of $30 million

20   settlement) (Ex. 9); Weston v. RCS Capital Corp. et al., No. 1:14-CV-10136-GBD, slip op. at 2

21   (S.D.N.Y. Sept. 28, 2017) (awarding 30% fee of $31 million settlement) (Ex. 9).

22           Accordingly, it is respectfully submitted that the attorneys’ fee requested here is well

23   within the range of fees awarded by district courts within the Ninth Circuit and in comparable

24   securities settlements nationwide.

25

26

27
         4
28        A compendium of unreported slip opinions is submitted as Exhibit 9 to the Gardner
     Declaration.
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 1                  6.      Reaction of the Class
 2           Although not articulated specifically in Vizcaino, district courts in the Ninth Circuit also

 3   consider the reaction of the class when deciding whether to award the requested fee. See

 4   Heritage Bond, 2005 WL 1594389, at *15 (“The presence or absence of objections . . . is also a

 5   factor in determining the proper fee award.”). A total of 233,036 copies of the Settlement Notice

 6   and Claim Form have been sent to potential Class Members and the Court-approved Summary

 7   Notice was published in Investor’s Business Daily and transmitted over the internet using PR

 8   Newswire. See Gardner Decl. ¶¶105-06; Ex. 3 ¶¶3-9. In addition, the Stipulation and Settlement

 9   Notice, among other documents, were posted to a website dedicated to the Action

10   (www.IntuitiveSurgicalSecuritiesLitigation.com). Gardner Decl. ¶107; Ex. 3 ¶10. Although the

11   objection deadline will not run until November 29, 2018, to date no objections to the requested

12   amount of attorneys’ fees and expenses have been received.5

13                  7.      Lodestar Cross-Check
14           Although an analysis of counsel’s lodestar is not required for an award of attorneys’ fees
15   in the Ninth Circuit, a cross-check of the fee request with Plaintiffs’ counsel’s lodestar
16   demonstrates its reasonableness. See Vizcaino, 290 F.3d at 1048-50; see also In re Coordinated
17   Pretrial Proceedings In Petroleum Prods. Antitrust Litig., 109 F.3d 602, 607 (9th Cir. 1997)
18   (comparing the lodestar fee to the percentage fee is an appropriate measure of a percentage fee’s
19   reasonableness).

20           Plaintiffs’ counsel’s combined “lodestar” is $21,548,609.00 for work through September

21   30, 2018, meaning that the requested fee, if awarded, would represent a significant negative

22   “multiplier” of 0.37 or be just 37% of Plaintiffs’ counsel’s combined lodestar. See Exs. 5-A, 6-

23   A, and 7.6 The Ninth Circuit has recognized that attorneys in common fund cases are frequently

24   awarded a multiple of their lodestar, rewarding them “for taking the risk of nonpayment by
25   paying them a premium over their normal hourly rates for winning contingency cases.”

26
         5
           Class Counsel will address any future objections to the request for attorneys’ fees and
27   expenses in their reply papers, which will be filed with the Court by December 13, 2018.
         6
28         Plaintiffs’ counsel’s lodestar is also reported according to the category of work conducted.
     See Exs. 5-B and 6-B.
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 1   Vizcaino, 290 F.3d at 1051 (citation omitted). For example, the district court in Vizcaino

 2   approved a fee that reflected a multiple of 3.65 times counsel’s lodestar. Id. The Ninth Circuit

 3   affirmed, holding that the district court correctly considered the range of multiples applied in

 4   common fund cases, and noting that a range of lodestar multiples from 1.0 to 4.0 are frequently

 5   awarded. Id.; see also Steiner v. Am. Broad. Co., 248 F. App’x. 780, 783 (9th Cir. 2007) (“this

 6   multiplier falls well within the range of multipliers that courts have allowed”).

 7            Courts have noted that a percentage fee that falls below counsel’s lodestar supports the
 8   reasonableness of the award. See, e.g., In re Portal Software, Inc. Sec. Litig., No. C-03-5138

 9   VRW, 2007 WL 4171201, at *16 (N.D. Cal. Nov. 26, 2007) (“negative multiplier suggest[s] that

10   the requested percentage based fee is fair and reasonable”); In re Amgen Inc. Sec. Litig., Case

11   No. CV 7-2536 PSG (PLAx), 2016 WL 10571773, at *9 (C.D. Cal. Oct 25, 2016) (same); In re

12   Biolase, Inc. Sec. Litig., Case No. SACV 13-1300-JLS (FFMx), 2015 WL 12720318, at *8 (C.D.

13   Cal. Oct. 13, 2015) (same). Moreover, a negative multiplier, like the negative multiplier here,

14   means that Class Counsel is seeking to be paid “for only a portion of the hours that they

15   expended on the action.” Amgen, 2016 WL 10571773, at *9.

16            Plaintiffs’ counsel’s lodestar represents 41,813.90 hours of work at counsel’s current

17   hourly rates.7 Counsel’s rates range from $700 to $975 for partners, $700 per hour for of

18   counsels, $375 to $675 for associates, and $335 to $435 per hour for the attorneys that assisted
19   with document review and deposition preparation. See Exs. 5-A and 6-A. Class Counsel

20   submits that these rates are comparable or less than those used by peer defense-side law firms

21   litigating matters of similar magnitude. Sample defense firm rates in 2017, gathered by Labaton

22   Sucharow from bankruptcy court filings nationwide, often exceed these rates. See Decl. ¶137;

23   Ex. 8.

24

25

26       7
           The Supreme Court and other courts have held that the use of current rates is proper since
27   such rates compensate for inflation and the loss of use of funds. See Missouri v. Jenkins, 491
     U.S. 274, 283-84 (1989); Rutti v. Lojack Corp. Inc., No. SACV 06-350 DOC JCX, 2012 WL
28   3151077, at *11 (C.D. Cal. July 31, 2012) (“it is well-established that counsel is entitled to
     current, not historic, hourly rates”) (citing Jenkins, 491 U.S. at 284).
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 1          Additional work will be required of Class Counsel on an ongoing basis, including:

 2   correspondence with Class Members; preparation for, and participation in, the final approval

 3   hearing; supervising the claims administration process being conducted by the Claims

 4   Administrator; and supervising the distribution of the Net Settlement Fund to Class Members

 5   who have submitted valid Claim Forms. However, Class Counsel will not seek payment for this

 6   additional work.

 7          D.      The Requested Fee Is Entitled to a Presumption of Reasonableness as it
                    Is Based on a Fee Agreement Entered into at the Outset of the Litigation
 8
            The 19% request is based on a pre-settlement retainer agreement with Hawaii ERS, given
 9
     the stage of the litigation, and is lower than the fee agreement entered into with Greater
10
     Pennsylvania. Gardner Decl. ¶121. A fee agreement between a properly selected PSLRA lead
11
     plaintiff and counsel should be afforded a presumption of reasonableness. See In re Cendant
12
     Corp. Litig., 264 F.3d 201, 282 (3d Cir. 2001) (ex ante fee agreements in securities class actions
13
     enjoy “a presumption of reasonableness”); In re Marsh & McLennan Cos. Sec. Litig., No. 04
14
     Civ. 8144 (CM), 2009 WL 5178546, at *15 (S.D.N.Y. Dec. 23, 2009) (“Since the passage of the
15
     PSLRA, courts have found such an agreement between fully informed lead plaintiffs and their
16
     counsel to be presumptively reasonable”).
17
     II.    CLASS COUNSEL’S EXPENSES ARE REASONABLE AND WERE
18          NECESSARY TO ACHIEVE THE BENEFIT OBTAINED
19          Class Counsel has incurred expenses in the aggregate amount of $1,988,789.66 in

20   prosecuting the Action. Ex. 5-C. These expenses are outlined in Class Counsel’s individual fee

21   and expense declaration submitted to the Court concurrently herewith. Id.

22          As the Vincent court noted, “[a]ttorneys who created a common fund are entitled to the

23   reimbursement of expenses they advanced for the benefit of the class.” Vincent, 2013 WL

24   621865, at *5 (citation omitted). In assessing whether counsel’s expenses are compensable in a

25   common fund case, courts look to whether the particular costs are of the type typically billed by

26   attorneys to paying clients in the marketplace. Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir.

27   1994) (“Harris may recover as part of the award of attorney’s fees those out-of-pocket expenses

28   that ‘would normally be charged to a fee paying client.’”) (citation omitted).
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 1          Here, the expenses sought by Class Counsel are of the type that are charged to hourly

 2   paying clients and, therefore, should be paid out of the common fund. The main expense here

 3   relates to work performed by the Class Representatives’ testifying and consulting experts

 4   ($1,188,565.43 or approximately 60% of total expenses). As discussed in the Gardner

 5   Declaration, in addition to the two expert reports prepared and utilized at the class certification

 6   stage (see Gardner Decl. ¶¶32, 36), the Class Representatives retained experts to opine and

 7   consult in areas concerning loss causation, materiality, damages, insider trading and executive

 8   compensation, FDA regulation and medical devices, robotic surgery, and jury analysis (id. ¶¶62-

 9   65, 67-69, 71). Class Counsel received crucial advice and assistance from these experts

10   throughout the course of the Action, from drafting the complaints through discovery, summary

11   judgment, and trial preparation. Class Counsel utilized these experts in order to efficiently frame

12   the issues, gather relevant evidence, make a realistic assessment of provable damages, and

13   structure a resolution of the Action. Id .

14          Class Counsel was also required to travel in connection with numerous court

15   appearances, witness meetings, and depositions. Work-related transportation, lodging, trial

16   accommodations, and meal costs totaled approximately $247,805.08 or 12% of aggregate

17   expenses. Id. ¶144. Any first class airfare was reduced to economy rates. Such expenses are

18   reimbursable. See In re Immune Response Sec. Litig, 497 F. Supp. 2d 1166, 1177 (S.D. Cal.

19   2007) (reimbursement for travel expenses . . . is within the broad discretion of the Court).

20          As explained above and in the Gardner Declaration, a vast amount of fact discovery was

21   taken in the case, in addition to expert discovery. Class Counsel seeks $174,840.30 (9% of total

22   expenses) relating to litigation support services, such as the costs associated with electronic

23   discovery, and independent counsel for confidential witnesses. Gardner Decl. ¶145. Expenses

24   totaling $90,139.18 (5% of total expenses) were incurred in connection with court reporting and

25   the 24 depositions taken in the case. Id. The expenses here also include the costs of factual and

26   legal research ($73,870.71 or 4% of total expenses). Id. ¶146. These are the costs of primarily

27   computerized factual and legal research services such as LEXIS/Nexis and Westlaw. It is

28   standard practice for attorneys to use LEXIS/Nexis and Westlaw to assist them in researching
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 1   legal and factual issues and reimbursement is proper. See Immune Response, 497 F. Supp. 2d at

 2   1177. The other expenses for which Class Counsel seeks payment are the types of expenses that

 3   are necessarily incurred in litigation and routinely charged to clients who are billed by the hour.

 4   These expenses include, among others, duplicating costs, long distance telephone and conference

 5   call charges, and filing fees

 6           In sum, Class Counsel’s expenses, in an aggregate amount of $1,988,789.66, were

 7   reasonable and necessary to the prosecution of the Action and should be approved.

 8   III.    CLASS REPRESENTATIVES’ REQUEST FOR PSLRA REIMBURSEMENT
 9           The PSLRA, 15 U.S.C. § 78u-4(a)(4), limits a class representative’s recovery to an

10   amount “equal, on a per share basis, to the portion of the final judgment or settlement awarded to

11   all other members of the class,” but also provides that “[n]othing in this paragraph shall be

12   construed to limit the award of reasonable costs and expenses (including lost wages) directly

13   relating to the representation of the class to any representative party serving on behalf of a class.”

14   Here, as detailed in their respective declarations, attached as Exhibits 1 and 2 to the Gardner

15   Declaration, the Class Representatives are seeking the aggregate amount of $58,854.18 in

16   expenses related to their active participation in the Action. This total is broken down as follows:

17   (i) Hawaii ERS - $49,754.18 based on 339.40 hours dedicated to the case at rates ranging from

18   $109 per hour to $172.68 per hour; and (ii) Greater Pennsylvania - $9,100 based on 80 hours

19   dedicated to the case at $70.00 to $120.00 per hour. Id.

20           Each Class Representative assisted with discovery efforts, produced documents, and

21   prepared for and testified at a deposition in connection with the class certification motion –

22   indeed four representatives of Hawaii ERS were deposed and a representative attended the class

23   certification hearing. Id.

24           Many cases have approved reasonable payments to compensate class representatives for

25   the time, effort, and expenses devoted by them on behalf of a class. See, e.g., Hatamian v.

26   Advanced Micro Devices, Inc., Case No. 14-cv-00226-YGR, slip op, at 4 (N.D. Cal. Mar. 2,

27   2018) (awarding costs and expenses to two class representatives in the amount of $8,348.25 and

28   $14,875.00, respectively) (Ex. 9); In re Broadcom Corp. Class Action Litig., No. CV-06-5036-R
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 1   (CWx) (C.D. Cal. Dec. 4, 2012), slip op. at 2 (awarding costs and expenses to class

 2   representative in the amount of $21,087) (Ex. 9); In re Marsh & McLennan Co. Inc. Sec. Litig.,

 3   No. 04-cv-08144 (CM), 2009 WL 5178546 (S.D.N.Y. Dec. 23, 2009) (awarding $144,657 to the

 4   New Jersey Attorney General’s Office and $70,000 to the Ohio Funds); In re Satyam Comput.

 5   Servs. Ltd. Sec. Litig., No. 09-MD-2027-BSJ, slip op. at 3-4 (S.D.N.Y. Sept. 13, 2011) (awarding

 6   $193,111 to lead plaintiffs) (Ex. 9). As explained in one decision, courts “award such costs and

 7   expenses to both reimburse named plaintiffs for expenses incurred through their involvement

 8   with the action and lost wages, as well as provide an incentive for such plaintiffs to remain

 9   involved in the litigation and incur such expenses in the first place.” Hicks v. Stanley, No. 01

10   Civ. 10071(RJH), 2005 WL 2757792, at *10 (S.D.N.Y. Oct. 24, 2005).

11          Class Counsel and the Class Representatives respectfully submit that the amounts sought

12   here are eminently reasonable based on the requesting parties’ active involvement in the Action

13   from inception to settlement. See Exs. 1 and 2.

14                                            CONCLUSION
15          For all the foregoing reasons, Class Counsel respectfully requests that the Court award
16   attorneys’ fees of 19% of the Settlement Fund, litigation expenses in the amount of
17   $1,988,789.66, and PSLRA reimbursement to Hawaii ERS in the amount of $49,754.18 and
18   Greater Pennsylvania in the amount of $9,100. A proposed order will be submitted with Class
19   Counsel’s reply papers, after the November 29, 2018 objection deadline has passed.

20   Dated: November 15, 2018                      Respectfully submitted,
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     CASE NO. 5:13-CV-01920-EJD (HRL)                                                         22
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 1                                      CERTIFICATE OF SERVICE
 2          I hereby certify that on November 15, 2018, I authorized the electronic filing of the

 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

 4   such filing to the e-mail addresses denoted on the attached Electronic Mail Notice List, and I

 5   hereby certify that I have mailed the foregoing document or paper via the United States Postal

 6   Service to the non-CM/ECF participants indicated on the attached Service List.

 7          I certify under penalty of perjury under the laws of the United States of America that the

 8   foregoing is true and correct.

 9          Executed on November 15, 2018

10                                                        /s/ Jonathan Gardner
                                                          JONATHAN GARDNER
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     (who therefore require manual noticing). You may wish to use your mouse to select and copy
 9   this list into your word processing program in order to create notices or labels for these
     recipients.
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     • (No manual recipients)
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     CERTIFICATE OF SERVICE                                                                              4
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